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 1   TRACY L. WILKISON                                                      JS-6
 2   Acting United States Attorney
     DAVID M. HARRIS
 3   Assistant United States Attorney
     Chief, Civil Division
 4   CEDINA M. KIM
     Assistant United States Attorney
 5   Senior Trial Attorney, Civil Division
     ARMAND ROTH
 6   Special Assistant United States Attorney
     California State Bar No. [Bar 214624
 7         Social Security Administration
           160 Spear Street, Suite 800
 8         San Francisco, CA 94105-1545
           Telephone: (415) 977-8924
 9         Facsimile: (415) 744-0134
           Email: armand.roth@ssa.gov
10
     Attorneys for Defendant
11
12                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
13
14   ANGELA LASHELL MANNING,                ) Case No.: 2:20-cv-10554-AS
                                            )
15         Plaintiff,                       ) [PROPOSED] JUDGMENT OF
                                            ) REMAND
16         vs.                              )
                                            )
17                                          )
     KILOLO KIJAKAZI,                       )
18   Commissioner of Social Security,       )
                                            )
19       Defendant.                         )
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 1         The Court having approved the parties’ Stipulation to Remand Pursuant to
 2   Sentence Four of 42 U.S.C. § 405(g) (Stipulation to Remand), IT IS HEREBY
 3
     ORDERED, ADJUDGED AND DECREED that the above-captioned action is
 4
     remanded to the Commissioner of Social Security for further proceedings
 5
 6   consistent with the terms of the Stipulation to Remand.
 7
 8
           DATED: October 27, 2021
 9
10
                              ___________________________________
                                          / s / Sagar
11                            THE HONORABLE ALKA SAGAR
                              UNITED STATES MAGISTRATE JUDGE
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